Case 1:19-cv-00941-LG-RHW Document 3-2 Filed 07/10/19 Page 1 of 35

EXHIBIT B TO
BELO CASES INITIAL PROCEEDINGS
CASE MANAGEMENT ORDER

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

eH CIVIL ACTION
VERSUS NO.
BP EXPLORATION & PRODUCTION, INC. JUDGE BARBIER

AND BP AMERICA PRODUCTION COMPANY MAG. JUDGE WILKINSON

Related to: 12-968 BELO
in MDL No. 2179

PLAINTIFF PROFILE FORM

PLAINTIFF’S FULL NAME:

Please answer every question to the best of your knowledge. You are signing and submitting this
Plaintiff Profile Form under penalty of perjury and must provide information that is true and
accurate. If you cannot recall all of the details requested, please provide as much information as
you can. For each question where the space provided does not allow for a complete answer,
please attach as many additional sheets of paper as necessary to fully answer the question.

If you are asked to identify a person (such as doctors or witnesses), give the name and
last-known address and telephone number.

NOTE: Please provide information regarding the person who claims injury. The terms “you”
and “your” refer only to that person, not to the individual who may be completing this form in a
representative capacity (except Nos. 12-18). If the person who claims injury is deceased, the
personal representative should respond as of the time immediately prior to his or her death unless
a different time period is specified.

YOUR BACKGROUND INFORMATION

1. Current address:

Initial
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Telephone number:

Maiden or other names used or by which you have been known, and the dates during

which you were known by such names:

Date and Place of Birth:

Male Female

Social Security Number:

Each address (other than your current address) at which you have lived during the last ten

(10) years, and list the dates of residence for each one:

Address Dates of Residence

Driver’s License Number and State Issuing License:

A. Have you ever had your driving privileges suspended or limited based on your
health or physical condition? Yes No
B. If so, when and for what reason(s)?

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health (other than pregnancy)? Yes

9. Employment Information:

A. Current employer (if not employed, last employer):

Dates of Occupation/Job
Employer Address
Employment Duties
B. Past employers (last ten (10) years):
Dates of
Employer Address Occupation/Job Duties
Employment

10. | Have you ever been out of work for more than thirty (30) days for reasons related to your

No If “Yes,” when were you out of

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work and why?

If you are represented by counsel, please provide the following information:

Plaintiff's primary attorney:

Law Firm:

Address:

Telephone number: Fax number:

E-mail address:

INFORMATION ABOUT THE PERSONAL REPRESENTATIVE

If you are completing this form in a representative capacity (e.g., on behalf of the estate of a
person or a minor), please complete the following:

12,

13.

14.

15.

16.

Name:

Address:

In what capacity are you representing the individual or estate?

What is your relationship to the person claiming to be injured?

If you were appointed as a representative by a court, state the following:

Court, Court Term, & Case Number:

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17. Date of Appointment:

18. If you represent the estate, when and where did the decedent die?

INFORMATION ABOUT THE CLAIM

19. Are you claiming that you have developed or may develop bodily injury as a result of
exposure to the oil spill and/or chemical dispersant used in response to the oil spill?
Yes No

20. Describe in as much detail as possible the bodily injury (or medical condition) you claim

resulted from your exposure to the oil spill and/or chemical dispersant?

21. Describe in as much detail as possible the circumstance(s) in which your exposure to the

oil spill and/or chemical dispersant occurred:

A. Where did the expesure(s) occur?

B. When did the exposure(s) occur?
C. To what substance or chemical were you exposed, if you know?
D. For how long were you exposed to this substance or chemical?

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Who witnessed your exposure to this substance or chemical?

During your alleged exposure, were you provided by BP or any other entity protective

clothing, gear, equipment, etc.? Yes No

A. Identify the specific clothing, gear, equipment, etc. you were provided:

B. When and how often were you provided such clothing, gear, and equipment?
©. Where or from whom were you provided the clothing, gear, equipment, etc.?

During your alleged exposure, did you wear and/or use protective clothing, gear,

equipment, etc.? Yes No If “Yes,”

A. Identify the specific clothing, gear, equipment, etc. worn and/or used:

B, When and how often did you use and/or wear such clothing, gear, and equipment?
iS, Where or from whom did you obtain the clothing, gear, equipment, etc.?

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D. If you did not use the clothing, gear, equipment provided to you, please explain

why:

25. Name of doctor(s) (or other healthcare providers) who diagnosed your injury (or

condition)?

A. For each doctor (or other healthcare provider) identified in the prior question,

when did he/she make the diagnosis?

B. Have you had any discussion with physician(s) or other healthcare provider(s)
about whether your alleged injury or injuries are, or might be, related to exposure

to the substance or chemical listed in answering Question 21(C)?

If “Yes,” please provide the following information:

Name & Address of Healthcare Date of What Was Said
Provider Discussion
26. Who else (beside your doctor or healthcare providers) knows about your injury (or
condition)?

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Does the alleged injury, or do the alleged injuries, persist today?

Yes No If “Yes,”
A. Do you still receive treatment? Yes No
B. H so, from whom?

Have you ever suffered this type of injury or condition before (i.e., before the date given

in your answer to Question 21(B))? Yes No . Yes,”
A. When?

B. Who diagnosed the injury (or condition) at that time?

C. Who treated the injury (or condition) at that time?

Do you claim that your exposure to the oil spill and/or chemical dispersant worsened an
injury (or condition) that you already had or had in part?
Yes No » “Yer”

A. What injury (or condition) was made worse?

Are you claiming a mental and/or emotional condition as a consequence of exposure to

the oil spill and/or chemical dispersant? Yes No If “Yes,”

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A. Identify each healthcare provider (including but not limited to primary care
physicians, psychiatrists, psychologists, counselors) from whom you have sought
treatment for psychological, psychiatric, or emotional condition during the last
ten (10) years:

B. Describe the condition for which you received consultation/treatment:

Cc. Dates of consultation/treatment:

D. Medications and other treatments prescribed or recommended by the provider:

31, Identify all persons who possess information concerning your injury and/or your medical

conditions. (Please attach additional sheets as necessary.)

A.

Name:
Address:

Relationship:

What do they know about your injury or condition?

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B. Name:
Address:

Relationship:

What do they know about your injury or condition?

C. Name:
Address:
Relationship:

What do they know about your injury or condition?

32. Do you claim or expect to claim that you lost earnings or suffered impairment of earning

capacity as a result of any physical, mental, or emotion injury that you allege?

Yes No If “Yes,”
A. What was your annual income at the time you were injured?
B. How long do you claim that you were unable to work due to the claimed injury or

had impaired capacity (please provide dates)?

Cc, How much do you claim in lost wages?

INSURANCE AND OTHER COMPENSATION INFORMATION

Sos Have you filed a worker’s compensation claim in the past 10 years?
Yes No If “Yes,” please state:
A. Year claim was filed:

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B. Where claim was filed:

C. Claim number, if applicable:

D. Nature of the injury (or condition):

E. Period of disability:

fe If your claim for compensation has been approved, please describe the amount of

compensation received or to be received.

(Please copy and attach additional pages if necessary to provide a complete response.)

34. | Have you made a social security disability claim in the past ten years?
Yes: No: If “Yes,” please state:
Ae Year claim was filed:
B; Where claim was filed:
C. Claim number, if applicable:
D. Nature of the injury (or condition):

E. Period of disability:
FB State whether your claim for compensation has been approved or denied:

G. If your claim for compensation has been approved, please describe the amount of
compensation received or to be received.

(Please copy and attach additional pages if necessary to describe more than one claim.)

35. | Have you made any other form of disability claim in the past 10 years?

Yes: No: If “Yes,” please state:

A. When was the claim filed?

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With whom was the claim filed?

What was the nature of the disability?

For how long were you disabled?

State whether your claim for compensation has been approved or denied.

If your claim for compensation has been approved, please describe the amount of

compensation received or to be received.

(Please copy and attach additional pages if necessary to describe more than one claim.)

Have you made a claim for compensation for your claimed injuries with any insurance

company, Medicare, or any other party that may be responsible for providing you with

compensation in the past 10 years? Yes: = No: If*¥es,” please state:
A. Year claim was filed:

B. Where claim was filed:

t. Claim number, if applicable:

D. Nature of the injury (or condition):

E; Period of disability:

Je State whether your claim for compensation has been approved or denied:

G. If your claim for compensation has been approved, please describe the amount of

compensation received or to be received.

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38.

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(Please copy and attach additional pages if necessary to provide a complete response.)

Have you ever filed a lawsuit or made a claim alleging personal injury, other than the

present lawsuit? Yes: No: If “Yes,”

A. When did you file the lawsuit?

B. Who were the parties?

C. What was the case/civil action/docket number?

D. What claim did you make?

k. Describe the result of the lawsuit, including the amount of any compensation that

you received,

Have you ever filed a lawsuit or made a claim, other than the present lawsuit, seeking

damages for the injuries you claim in this case? Yes: No: If “Yes,”

A.

B.

When did you file the lawsuit or claim?

If you filed a lawsuit:

i. Who were the parties?

il. What was the case/civil action/docket number?

iil. What claim did you make?

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iv. Describe the result of the lawsuit, including the amount of any

compensation that you received.

Cc. If you filed a claim that was not a lawsuit, please describe the circumstances of

that claim and the result:

YOUR MEDICAL HISTORY

39. | Have you ever been exposed to substances or sources of contaminants and/or toxins other
than the ones alleged in this lawsuit? Yes No If “Yes,”
A. Describe in as much detail as possible the circumstances in which your exposure

to such substances or sources occurred:

i, Where did the exposure(s) occur?

il. When did the exposure(s} occur?

iii. To what contaminant and/or toxins were you exposed?

iv. What was your level of exposure to each contaminant and/or toxin, if you
know?

v. For how long were you exposed to each contaminant and/or toxin?

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40, Smoking history. Check the answer and fill in the blank applicable to your history of

smoking and/or tobacco use:

A. Never smoked or chewed.
B. Smoked in the past, but stopped
i. When did you start?

il. When did you stop?

ili, What did you use? Cigarettes/cigars/pipe tobacco/chewing tobacco/snuff.

iv. Amount you smoked or chewed: onaverage sper day for ___ years.
C. Smoke now

i. When did you start?

il. When did you stop?

iii. What did you use? Cigarettes/cigars/pipe tobacco/chewing tobacco/snuff.
iv. Amount you smoked or chewed: on average _—s per day for___ years.
41, Have you ever experienced, been diagnosed with, or been treated for the following:
A. Health conditions, including but not limited to:
Anemia Wes! No:
Bacterial Infection Yes! No:
Diabetes Yost No:
Obesity Yes: No:
Blood Disorder Yes: No:

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Skin Disorder(s) (e.g. rashes, blisters) Yes: No:
Stroke Yes: No:
Seizures Yes: No:
Muscle Disorder Yes: No:
Paralysis yor No:
Severe Headaches or Migraines Yes: No:
Cancer Yes: No:
Allergies Yes: No:
Compromjsed Immune System Yes: No:
Severe Allergic Reaction Yes: No:
Cardiovascular Disease

(including high blood pressure) Yes: No:
Heart Attack Yes: No:
Chest Pain Yes: No:
Kidney Disease Yes: No:
Liver Disease yes: No:
Respiratory Illness(es) Yes: No:
Ocular (Eye) Condition(s) Yes: No:

Conditions affecting the ears and
hearing (including tinnitus) Yes: No:

Conditions affecting the nose and sinuses
(including rhinosinusitus) Yes: No:

Mental Health Issues Yes: No:

B. Alcohol: Number of drinks per day:

Number of drinks per week:

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If you answered “Yes” to any of the above, for each condition:
A, When was it diagnosed? (identify condition and month/year)
B. Who diagnosed it? (identify condition and health care provider)

Cc. Who treated it? (identify condition and health care provider)

YOUR FAMILY INFORMATION

43.

44,

Have you ever been married? Yes No If “Yes,” for each spouse, please
identify:

A. Spouse’s name:

B, Date of marriage:

C. Spouse’s occupation:

Have any of your children, parents, siblings, or close relatives (aunts, uncles, or
grandparents) suffered from any of the conditions listed in Question 40? If “Yes,”

identify each such person below and provide the information requested.

A. Name:

B. Relationship to Plaintiff:

CC. Current Age (or Age at Death):

D. Type of Condition:

E. If Applicable, Cause of Death:

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YOUR DOCTORS
45. Your current family and/or primary care physician:
Name Address

46. Your primary care physicians for the past ten (10) years:

Name Address

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47. Each hospital, clinic, or healthcare facility where you have received inpatient treatment

or been admitted as a patient during the past ten (10) years:

Name Address Approximate Reason for Admission
Dates
48, Each hospital, clinic, or healthcare facility where you have received outpatient treatment

(including treatment in an emergency room) during the last ten (10) years:

Name Address Approximate Reason for Treatment
Dates

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49. Please list any and all surgeries, procedures, and hospitalizations that you have had in the

past ten (10) years that you have not already described above.

Approximate Reason for and Doctor Name and
Date Description of Procedure Address (including hospital or
facility)
50. Please list any and all surgeries, procedures, and hospitalizations that you have had at any

time that you have not already identified above for diseases or medical conditions similar

to the injury you are alleging in this lawsuit:

Approximate Reason for and Doctor Name and
Date Description of Procedure Address (including hospital or
facility)

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51. Each physician or healthcare provider not already identified above from whom you have
received treatment in the last ten (10) years:

Name

Address

Approximate Reason for Admission
Dates

52. Each pharmacy that has dispensed medication to you in the past ten (10) years:

Name

Address

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YOUR DOCUMENTS

53. Please indicate if any of the following documents and things are currently in your

possession, custody, or control, or in the possession, custody, or control of your lawyers.

A, Medical records. Yes No
B. Decedent’s death certificate (if applicable). Yes No
Report of autopsy of decedent (if applicable). Yes No

54. Authorizations—Please sign and attach to this Fact Sheet the authorizations for the

release of records appended hereto.

55. Documents in your possession—If you have any of the following materials in your
custody or possession, or in the possession, custody or control of your lawyers, please
attach a copy to this Fact Sheet, but only to the extent that production of such documents
in the attorney’s possession does not violate the work product doctrine or attorney client

privilege.

A. If you have been the claimant or subject of any worker’s compensation, Social

Security or other disability proceeding, all documents relating to such proceeding.

B. Copies of all medical records, bills, and any other documents from physicians,
healthcare providers, hospitals, pharmacies, insurance companies, or others who
have provided treatment to you in the past ten (10) years or that you otherwise

identified in this Fact Sheet.

Cc. All documents constituting, reporting, summarizing, or referring to any medical
test, psychological test, psychiatric test, intelligence test, mental health test, or
standardized test of any kind ever taken by or administered to plaintiff in the past

ten (10) years.

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D, All documents constituting, concerning, or relating to oil spill clean-up
instructions, policies, and/or procedures; warnings regarding exposure; or other
materials distributed with or provided to you in connection with your exposure to

the oil spill.

EB Copies of photos of any protective gear, clothing, shoes, or equipment worn by
you at any time during your exposure to the oil spill. (Plaintiffs must maintain the

originals of the items requested in this subpart.)

F; All statements obtained from or given by any person having knowledge of facts

relevant to the subject of this litigation.

G. All documents which mention or refer to any alleged health risks or hazards
related to the oil spill and/or exposure thereto in your possession at or before the

time of the injury alleged in your Complaint.

H. All journals, diaries, notes, letters, emails, social media entries/postings, or other
documents written by you or received by you which refer to your health or well-
being, including any injuries or illnesses, or which refer to the oil spill or the risks

of exposure to the spill.

I. If you claim you have suffered a loss of earnings or earning capacity, your federal

tax returns for each of the last five (5) years.

J. If you claim any loss from medical expenses, copies of all bills from any

physician, hospital, pharmacy or other healthcare provider.

K. Copies of letters testamentary or letters of administration relating to your status as

a plaintiff (if applicable).

Le. Decedent’s death certificate and autopsy report (if applicable).

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M.

Any release executed by you or another person authorized to act on your behalf in

connection with the allegations that form the basis of your claim.

All documents that you submitted to the Deepwater Horizon Medical Benefits

Claims Administrator (Garretson Resolution Group) concerning any claim for

compensation.

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VERIFICATION

I, , have reviewed the information provided

in this Plaintiff's Profile Form, and I declare under penalty of perjury subject to 28 U.S.C. §
1746 that all of the information is true, complete, and correct to the best of my knowledge,
information, and belief.

I have supplied all the documents requested in the Section entitled “Your Documents” in
this Plaintiffs Profile Form, to the extent that such documents are in my possession or in the
possession of my lawyers, and to the extent that production of such documents in the attorney’s
possession does not violate the work product doctrine or attorney client privilege.

I have signed and supplied the authorizations attached to this Verification.

I acknowledge that I have an obligation to supplement the above responses if I learn that

they are in any material respect incomplete or incorrect.

Signature Date

Print Name

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig “Deepwater MDL No. 2179
Horizon” in the Gulf of Mexico, on April 20,
2010 AUTHORIZATION FOR RELEASE OF
MEDICAL RECORDS PURSUANT TO 45
Applies to: 12-cv-968: BELO C.F.R § 164.508 (HIPAA)
Name:
Date of Birth:
Social Security No.:
Address:
TO:

Medical Provider

I, the individual named above, hereby authorize my health care provider(s), health plan(s), and health
insurer(s) to disclose my health records to BP America and/or BP Exploration and Production and their
designated agent (“Receiving Parties”), Liskow & Lewis, One Shell Square, 701 Poydras Street, Suite 5000,
New Orleans, LA, 70139. These records shall be used or disclosed solely in connection with the currently
pending BELO litigation involving the person named above.

I hereby grant any reimbursement claim, lien holder or state or federal agency, and the contract
representatives of either, permission to share with the Recipient all reimbursement claim and lien information
and confirming health records regarding any conditional payments made, or medical care performed, by the
claim / lien holder relating to the following condition(s):

(collectively referred to as “lien information”).
As referenced to above, my health records include any and all of the following:

Records of my medical condition(s), diagnoses, and treatment, including, but not limited to, physician’s
records; surgeons’ records; discharge summaries; progress notes; consultations; pharmaceutical records;
medication sheets; patient information sheets; consents for treatment; medical reports; x-rays and x-ray reports;
CT scans; MRI films; photographs; and any other radiological, nuclear medicine, or radiation therapy films;
interpretations of diagnostic tests; pathology materials, slides, tissues, and laboratory results and/or reports;
consultations; physical therapy records; drug and alcohol abuse records; HIV/AIDS diagnosis and/or treatment;
physicals and histories; correspondence; psychiatric records; psychological records; psychometric test results;
social worker’s records; other information pertaining to the physical and mental condition; all hospital
summaries and hospital records including, but not limited to, admitting records; admitting histories and
physicals; case records, discharge summaries; physician’s orders, progress notes, and nurses’ notes; medical
record summaries; emergency room records; all other hospital documents and memoranda pertaining to any and
all hospitalizations and/or out-patient visits; and

Any and all insurance records; statements of account, bills or billing records, or invoices; any other
papers concerning any treatment, examination, periods or stays of hospitalization, confinement, or diagnosis
pertaining to my health.
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I understand the information in my health records may include information relating to sexually
transmitted disease, acquired immunodeficiency syndrome (AIDS), or human immunodeficiency virus (HIV). It
may also include information about behavioral or mental health services, and treatment for alcohol and drug
abuse.

I understand that this information will permit counsel in this case to communicate with my healthcare
providers concerning the medical records disclosed pursuant to this authorization.

In the event that this facility or medical provider requires execution of a proprietary authorization for the
release of medical records, I shall execute such authorization within 30 days of my attorneys or I receiving from
the Receiving Parties or their designated agents the required form. Similarly, if the policies of this institution or
medical provider require a more recently-dated execution of this authorization than the one provided, I shall re-
execute this authorization within 30 days of the Receiving Parties alerting my attorneys or I of that fact.

I understand that I have the right to revoke this authorization at any time. I understand that if 1 wish to
revoke the authorization, I must do so in writing and must provide my written revocation to any and all of my
health care providers, health plans, or health insurers, state or federal agencies and all other third party lien
holders to which the revocation will apply. I understand that the revocation will not apply to any disclosures
that have already been made in reliance on this authorization prior to the date upon which the disclosing health
care provider, health plan, health insurer, or such other third party receives my written revocation.

I understand that my authorization of the disclosure of my health record and lien information is
voluntary and that I therefore can refuse to sign this authorization. I also understand that I do not need to sign
this authorization to obtain health treatment or to receive or be eligible to receive benefits for coverage of health
treatment.

[ understand that, once disclosed to the Recipient, my health records and lien information may not be
protected by federal privacy law and could be further disclosed to others without my authorization.

This authorization shall expire one (1) year from the date on which it was signed or upon final
resolution of my BELO claim in the Medical Benefits Class Action Settlement in MDL 2179.

I have a right to receive and retain a copy of this authorization when signed below.

Name of PLAINTIFF [PRINT] Signature Date
OR
Name and title of AUTHORIZED Signature Date

REPRESENTATIVE authorized to act
on behalf of PLAINTIFF [PRINT]

Relationship to PLAINTIFF [PRINT]
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig “Deepwater MDL No. 2179
Horizon” in the Gulf of Mexico, on April 20,
2010 AUTHORIZATION FOR RELEASE OF
RECORDS PROVIDED TO DEEPWATER
Applies to: 12-cv-968: BELO HORIZON MEDICAL BENEFITS CLAIMS
ADMINISTRATOR
Name:

Date of Birth:
Social Security No.:

I, the individual named above, hereby authorize the Deepwater Horizon MEDICAL
BENEFITS CLAIMS ADMINISTRATOR (“CLAIMS ADMINISTRATOR”) to release all data,
documentation, and records pertaining to me in the possession, custody, or control of the CLAIMS
ADMINISTRATOR to BP America and/or BP Exploration and Production and their designated agent
(“Receiving Parties”), Liskow & Lewis, One Shell Square, 701 Poydras Street. Suite 5000, New
Orleans, LA, 70139. These records shall be used or disclosed solely in connection with the currently
pending BELO litigation involving the person named above.

As referred to above, certified data, documentation, and records pertaining to me include any
and all of the following: documents submitted to the CLAIMS ADMINISTRATOR relating to claims
for compensation arising from a medical condition, illness, or injury allegedly caused by the
DEEPWATER HORIZON INCIDENT; the following forms and all information and documents
submitted as part of these forms and in support thereof: the Mediation Information form; medical and
other health records; employment records; documents provided by my attorneys: and any and all other
data, documentation, and records provided to the CLAIMS ADMINISTRATOR pertaining to me, and
also including materials otherwise gathered or generated by GRG, including claim determination
documents, payment documents, and releases executed by plaintiff.

This authorization shall expire one (1) year from the date on which it was signed or upon final
resolution of my BELO claim in the Medical Benefits Class Action Settlement in MDL 2179.

Name:

Date
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig “Deepwater MDL No. 2179
Horizon” in the Gulf of Mexico, on April 20,
2010 AUTHORIZATION FOR RELEASE OF

EMPLOYMENT/PLAINTIFF RECORDS
Applies to: 12-cv-968: BELO

Name:

Date of Birth:
Social Security No.:
Address:

TO:

I, the EMPLOYEE named above, do hereby AUTHORIZE AND DIRECT my past or current
EMPLOYER identified above to disclose and release to BP America and/or BP Exploration and
Production and their designated representative, Liskow & Lewis, One Shell Square, 701 Poydras
Street, Suite 5000, New Orleans, LA, 70139, any and all records, files, documents, and other
information concerning my employment with the above-named EMPLOYER.

This authorization shall expire one (1) year from the date on which it was signed or upon a final
resolution of my BELO claim in the MEDICAL BENEFITS CLASS ACTION SETTLEMENT
in MDL 2179

Name of EMPLOYEE [PRINT] Signature Date
OR
Name and title of AUTHORIZED Signature Date

REPRESENTATIVE authorized to act
on behalf of EMPLOYEE [PRINT]

Relationship to EMPLOYEE [PRINT]
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Discontinue prior editions Page 1 of 4
Social Security Administration OMB No. 0960-0525

REQUEST FOR SOCIAL SECURITY EARNINGS INFORMATION

*Use This Form If You Need

DO NOT USE THIS FORM TO REQUEST

1. PartinediNon-Cernfied Detailed Earnings Information YEARLY EARNINGS TOTALS
Includes periods of employment or self-employment
and the names and addresses of employers. Yearly earnings totals are FREE to the public

OR if you do not require certification.

2. Certified Yearly Totals of Earnings To obtain FREE yearly totals of earnings,
. visit our website at www.ssa.gov/myaccount.
Includes total earnings for each year but does not

include the names and addresses of employers.

Privacy Act Statement
Collection and Use of Personal Information

Section 205 of the Social Security Act, as amended, authorizes us to collect the information on this form. We will
use the information you provide to identify your records and send the earnings information you request.
Completion of this form is voluntary; however, failure to do so may prevent your request from being processed.

We rarely use the information in your earnings record for any purpose other than for determining your entitlement
to Social Security benefits. However, we may use it for the administration and integrity of Social Security programs.
We may also disclose information to another person or to another agency in accordance with approved routine
uses, which include but are not limited to the following:
1. To enable a third party or an agency to assist Social Security in establishing rights to Social Security
benefits and/or coverage;
2. To comply with Federal laws requiring the release of information from Social Security records (e.g., to the
Government Accountability Office and Department of Veterans’ Affairs);
3. To make determinations for eligibility in similar health and income maintenance programs at the Federal,
State, and local level; and,
4. To facilitate statistical research, audit, or investigative activities necessary to assure the integrity and
improvement of Social Security programs.

A complete list of routine uses for earnings information is available in our Systems of Records Notices entitled, the
Earnings Recording and Self-Employment Income System (60-0059), the Master Beneficiary Record (60-0090),
and the SSA-Initiated Personal Earnings and Benefit Estimate Statement (60-0224).

In addition, you may choose to pay for the earnings information you requested with a credit card.

31 C.F.R. Part 206 specifically authorizes us to collect credit card information. The information you provide about
your credit card is voluntary. Providing payment information is only necessary if you are making payment by credit
card. You do not need to fill out the credit card information if you choose another means of payment (for example,
by check or money order). If you choose the credit card payment option, we will provide the information you give us
to the banks handling your credit card account and the Social Security Administration's (SSA) account.

Routine uses applicable to credit card information, include but are not limited to:

(1) to enable a third party or an agency to assist Social Security to effect a salary or an administrative offset or to
an agent of SSA that is a consumer reporting agency for preparation of a commercial credit report in accordance
with 31 U.S.C. §§ 3711, 3717 and 3718; and (2) to a consumer reporting agency or debt collection agent to aid in
the collection of outstanding debts to the Federal Government.

A complete list of routine uses for credit card information is available in our System of Records Notice entitled, the
Financial Transactions of SSA Accounting and Finance Offices (60-0231). The notice, additional information
regarding this form, routine uses of information, and our programs and systems is available on-line at
www.socialsecurity.gov or at your local Social Security office.

Paperwork Reduction Act Statement - This information collection meets the requirements of 44 U.S.C. § 3507,
as amended by section 2 of the Paperwork Reduction Act of 1995. You do not need to answer these questions
unless we display a valid Office of Management and Budget control number. We estimate that it will take about 11
minutes to read the instructions, gather the facts, and answer the questions. Send only comments relating to
our time estimate above to: SSA, 6401 Security Blvd, Baltimore, MD 21235-6401.

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REQUEST FOR SOCIAL SECURITY EARNINGS INFORMATION

1. Provide your name as it appears on your most recent Social Security card or the name of the individual whose
earnings you are requesting.

First Name: Middle Initial: [ |
Last Name:

Social Security Number (SSN) - 7 One SSN per request

Date of Birth: / / Date of Death: / /

Other Name(s) Used
(Include Maiden Name)

2. What kind of earnings information do you need? (Choose ONE of the following types of earnings or SSA must return this request.)

C] Itemized Statement of Earnings $115 Year(s) Requested: to
(Includes the names and addresses of employers)
Year(s) Requested: to
If you check this box, tell us why you need this information below.

O Check this box if you want the earnings information
CERTIFIED for an additional $33.00 fee.

[_] Certified Yearly Totals of Earnings $33 Year(s) Requested: to

(Does not include the names and addresses of employers)
Yearly earnings totals are FREE to the public if you do not
require certification. To obtain FREE yearly totals of earnings,
visit our website at www.ssa.gov/myaccount.

3. If you would like this information sent to someone else, please fill in the information below.
| authorize the Social Security Administration to release the earnings information to:

Year(s) Requested: to

Name

Address State

ZIP Code

City
4. | am the individual to whom the record pertains (or a person authorized to sign on behalf of that individual). |
understand that any false representation to knowingly and willfully obtain information from Social Security records is

punishable by a fine of not more than $5,000 or one year in prison.
Signature AND Printed Name of Individual or Legal Guardian

SSA must receive this form within 120 days from the date signed

Date t | t
Relationship (if applicable, you must attach proof) Daytime Phone:
Address State
City ZIP Code

Witnesses must sign this form ONLY if the above signature is by marked (X). If signed by mark (X), two witnesses to the signing who
know the signee must sign below and provide their full addresses. Please print the signee's name next to the mark (X) on the signature

line above,
{. Signature of Witness

2. Signature of Witness

Address (Number and Street, City, State and ZIP Code) Address (Number and Street, City, State and Z/P Code)

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REQUEST FOR SOCIAL SECURITY EARNINGS INFORMATION

INFORMATION ABOUT YOUR REQUEST

You may use this form to request earnings information for only ONE Social Security Number (SSN)

How do | get my earnings statement?

You must complete the attached form. Tell us the specific
years of earnings you want, type of earnings record, and
provide your mailing address. The itemized statement of
earnings will be mailed to ONE address, therefore, if you
want the statement sent to someone other than yourself,
provide their address in section 3. Mail the completed form

to SSA within 120 days of signature. If you sign with an "X",

your mark must be witnessed by two impartial persons who

must provide their name and address in the spaces provided.

Select ONE type of earnings statement and include the

appropriate fee.

1. Certified/Non-Certified Itemized Statement of Earnings
This statement includes years of self-employment or
employment and the names and addresses of
employers.

2. Certified Yearly Totals of Earnings
This statement includes the total earnings for each year
requested but does not include the names and
addresses of employers.

If you require one of each type of earnings statement, you
must complete two separate forms. Mail each form to SSA
with one form of payment attached to each request.

How do | get someone else's earnings statement?

You may get someone else's earnings information if you
meet one of the following criteria, attach the necessary
documents to show your entitlement to the earnings
information and include the appropriate fee.

1. Someone Else's Earnings
The natural or adoptive parent or legal guardian of a
minor child, or the legal guardian of a legally declared
incompetent individual, may obtain earnings information
if acting in the best interest of the minor child or
incompetent individual. You must include proof of your
relationship to the individual with your request. The proof
may include a birth certificate, court order, adoption
decree, or other legally binding document.

2. A Deceased Person's Earnings

You can request earnings information from the record of
a deceased person if you are:

+ The legal representative of the estate;

+ A survivor (that is, the spouse, parent, child, divorced
spouse of divorced parent); or

* An individual with a material interest (e.g., financial)
who is an heir at law, next of kin, beneficiary under the
will or donee of property of the decedent.

You must include proof of death and proof of your
relationship to the deceased with your request.

Is There A Fee For Earnings Information?

Yes. We charge a $115 fee for providing information for
purposes unrelated to the administration of our programs.

1. Certified or Non-Certified Itemized Statement of
Earnings
In most instances, individuals request Itemized
Statements of Earnings for purposes unrelated to our
programs such as a private pension plan or personal
injury suit. Bulk submitters may email OCO.Pension.
Fund@ssa.gov for an alternate method of obtaining
itemized earnings information.

We will certify the itemized earnings information for an
additional $33.00 fee. Certification is usually not
necessary unless you are specifically requested to obtain
a certified earnings record.

Sometimes, there is no charge for itemized earnings
information. If you have reason to believe your earnings
are not correct (for example, you have previously received
earnings information from us and it does not agree with
your records), we will supply you with more detail for the
year(s) in question. Be sure to show the year(s) involved
on the request form and explain why you need the
information. If you do not tell us why you need the
information, we will charge a fee.

2. Certified Yearly Totals of Earnings
We charge $33 to certify yearly totals of earnings.
However, if you do not want or need certification, you may
obtain yearly totals FREE of charge at
www.ssa.gov/myaccount. Certification is usually not
necessary unless you are advised specifically to obtain a
certified earnings record.

Method of Payment
This Fee Is Not Refundable. DO NOT SEND CASH.

You may pay by credit card, check or money order.
: Credit Card Instructions
Complete the credit card section on page 4 and
return it with your request form.

* Check or Money Order Instructions
Enclose one check or money order per request form
payable to the Social Security Administration and
write the Social Security number in the memo.

How long will it take SSA to process my request?
Please allow SSA 120 days to process this request. After

120 days, you may contact 1-800-772-1213 to leave an
inquiry regarding your request.

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REQUEST FOR SOCIAL SECURITY EARNINGS INFORMATION

+ Where do | send my complete request?

Mail the completed form, supporting documentation,
and applicable fee to:
Social Security Administration
Division of Earnings and Business Services
P.O, Box 33014
Baltimore, Maryland 21290-3003

if using private contractor such as FedEx mail form,
supporting documentation and applicable fee to:
Social Security Administration
Division of Earnings and Business Services
6100 Wabash Ave.

Baltimore, Maryland 21215

+ How much do | have to pay for an Itemized Statement of Earnings?

Non-Certified Itemized Statement of Earnings

Certified Itemized Statement of Earnings

$115.00

$148.00

* How much do | have to pay for Certified Yearly Totals of Earnings?
Certified yearly totals of earnings cost $33.00. You may obtain non-certified yearly totals FREE of charge at
www.ssa.gov/myaccount. Certification is usually not necessary unless you are specifically asked to obtain

a certified earnings record.

YOU CAN MAKE YOUR PAYMENT BY CREDIT CARD

As a convenience, we offer you the option to make your payment by credit card. However, regular credit card rules will
apply. You may also pay by check or money order. Make check payable to Social Security Administration.

CHECK ONE

[_] American Express

[_] Visa

[_] MasterCard [_] Discover

Credit Card Holder's Name
(Enter the name from the credit card)

First Name, Middle Initial, Last Name

Credit Card Holder's Address

Number & Street

City, State, & ZIP Code

Daytime Telephone Number

( ) -

Area Code

Credit Card Number

Credit Card Expiration Date

(MMIYY)

Amount Charged

See above to select the correct fee for your request.
Applicable fees are $33, $115, or $148

SSA will return forms without the appropriate fee.

Credit Card Holder's Signature

DO NOT WRITE IN THIS SPACE
OFFICE USE ONLY

Authorization

Name Date

Remittance Control #

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Social Security Administration Form Approved
Consent for Release of Information OMB No. 0960-0566
Instructions for Usi i rm

Complete this form only if you want us to give information or records about you, a minor, or a legally incompetent adult, to an
individual or group (for example, a doctor or an insurance company). If you are the natural or adoptive parent or legal guardian,
acting on behalf of a minor child, you may complete this form to release only the minor's non-medical records. We may charge a
fee for providing information unrelated to the administration of a program under the Social Security Act.

NOTE: Do not use this form to:

* Request the release of medical records on behalf of a minor child. Instead, visit your local Social Security office or call our toll-
free number, 1-800-772-1213 (TTY-1-800-325-0778), or

* Request detailed information about your earnings or employment history. Instead, complete and mail form SSA-7050-F4. You
can obtain form SSA-7050-F4 from your local Social Security office or online at www.ssa.gov/online/ssa-7050.pdf.

How to Complete this Form

We will not honor this form unless all required fields are completed. An asterisk (*) indicates a required field. Also, we will not
honor blanket requests for "any and all records" or the "entire file." You must specify the information you are requesting and you
must sign and date this form. We may charge a fee to release information for non-program purposes.

* Fill in your name, date of birth, and social security number or the name, date of birth, and social security number of the person
to whom the requested information pertains.

* Fill in the name and address of the person or organization where you want us to send the requested information.
* Specify the reason you want us to release the information.
* Check the box next to the type(s) of information you want us to release including the date ranges, where applicable.

* For non-medical information, you, the parent or the legal guardian acting on behalf of a minor child or legally incompetent adult,
must sign and date this form and provide a daytime phone number.

- If you are not the individual to whom the requested information pertains, state your relationship to that person. We may require
proof of relationship.

PRIVACY ACT STATEMENT

Section 205(a) of the Social Security Act, as amended, authorizes us to collect the information requested on this form. We will
use the information you provide to respond to your request for access to the records we maintain about you or to process your
request to release your records to a third party. You do not have to provide the requested information. Your response is
voluntary; however, we cannot honor your request to release information or records about you to another person or organization
without your consent. We rarely use the information provided on this form for any purpose other than to respond to requests for
SSA records information. However, the Privacy Act (5 U.S.C. § 552a(b)) permits us to disclose the information you provide on this
form in accordance with approved routine uses, which include but are not limited to the following:

1.To enable an agency or third party to assist Social Security in establishing rights to Social Security benefits and or coverage;
2.To make determinations for eligibility in similar health and income maintenance programs at the Federal, State, and local level;
3.To comply with Federal laws requiring the disclosure of the information from our records; and,

4.To facilitate statistical research, audit, or investigative activities necessary to assure the integrity of SSA programs.

We may also use the information you provide when we match records by computer. Computer matching programs compare our
records with those of other Federal, State, or local government agencies. We use information from these matching programs to
establish or verify a person's eligibility for Federally-funded or administered benefit programs and for repayment of incorrect
payments or overpayments under these programs. Additional information regarding this form, routine uses of information, and
other Social Security programs is available on our Internet website, www.socialsecurity.gov, or at your local Social Security office.

PAPERWORK REDUCTION ACT STATEMENT

This information collection meets the requirements of 44 U.S.C. § 3507, as amended by section 2 of the Paperwork Reduction
Act of 1995. You do not need to answer these questions unless we display a valid Office of Management and Budget control
number. We estimate that it will take about 3 minutes to read the instructions, gather the facts, and answer the questions. SEND
OR BRING THE COMPLETED FORM TO YOUR LOCAL SOCIAL SECURITY OFFICE. You can find your local Social
Security office through SSA's website at www.socialsecurity.gov. Offices are also listed under U.S. Government agencies
in your telephone directory or you may call 1-800-772-1213 (TYY 1-800-325-0778). You may send comments on our time
estimate above to: SSA, 6401 Security Blvd., Baltimore, MD 21235-6401. Send only comments relating to our time estimate
to this address, not the completed form.

Form SSA-3288 (11-2016) uf
Destroy Prior Editions
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Social Security Administration Form Approved
Consent for Release of Information OMB No. 0960-0566

You must complete all required fields. We will not honor your request unless all required fields are completed. (*Signifies a
required field. **Please complete these fields in case we need to contact you about the consent form).

TO: Social Security Administration

*My Full Name *My Date of Birth *My Social Security Number
(MM/DDIYYYY)
{ authorize the Social Security Administration to release information or records about me to:
*NAME OF PERSON OR ORGANIZATION: *ADDRESS OF PERSON OR ORGANIZATION:

*| want this information released because:
We may charge a fee to release information for non-program purposes.

*Please release the following information selected from the list below:
Check at least one box. We will not disclose records unless you include date ranges where applicable.

1. (_] Verification of Social Security Number

2. (_] Current monthly Social Security benefit amount

3. [-] Current monthly Supplemental Security Income payment amount

4. [_] My benefit or payment amounts from date to date

5. [_] My Medicare entitlement from date to date

6. [_] Medical records from my claims folder(s) fram date to date
If you want us to release a minor child's medical records, do not use this form. Instead, contact your local Social
Security office.

. [.] Complete medical records from my claims folder(s)

. (_] Other record(s) from my file (We will not honor a request for "any and all records" or "the entire file." You must specify

other records; e.g., consultative exams, award/denial notices, benefit applications, appeals, questionnaires,
doctor reports, determinations.)

ao ~

| am the individual, to whom the requested information or record applies, or the parent or legal guardian of a minor, or the
legal guardian of a legally incompetent adult. | declare under penalty of perjury (28 CFR § 16.41(d)(2004) that | have examined
all the information on this form and it is true and correct to the best of my knowledge. | understand that anyone who knowingly
or willfully seeking or obtaining access to records about another person under false pretenses is punishable by a fine of up to
$5,000. | also understand that | must pay all applicable fees for requesting information for a non-program-related purpose.

*Signature: *Date:
**Address: **Daytime Phone:
Relationship (if not the subject of the record): **Daytime Phone:

Witnesses must sign this form ONLY if the above signature is by mark (X). If signed by mark (X), two witnesses to the signing
who know the signee must sign below and provide their full addresses. Please print the signee's name next to the mark (X) on the

signature line above,

1.Signature of witness 2.Signature of witness

Address(Number and street,City,State, and Zip Code) Address(Number and street,City,State, and Zip Code)

Form SSA-3288 (11-2016) uf
